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                    EXHIBIT A
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              U.S. Patent No. 8,441,438

                          Huawei Nexus 6P




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                                     U.S. Patent         8-1 –Filed
                                                 No. 8,441,438      06/30/17
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Claim 14
A method for obtaining a resulting deviation including resultant angles in a spatial pointer reference frame of a three-dimensional
(3D) pointing device utilizing a six-axis motion sensor module therein and subject to movements and rotations in dynamic
environments in said spatial pointer reference frame, comprising the steps of:

                                y
                                                  three-dimensional (3D)
                                                  pointing device




                                                      x
       z




                                                          spatial pointer reference frame

 Source: http://www.droid-life.com/2015/09/29/tuesday-                             Source: http://developer.android.com/guide/topics/
 poll-nexus-5x-or-nexus-6p/                                                        sensors/sensors_overview.html#sensors-coords

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Claim 14
A method for obtaining a resulting deviation including resultant angles in a spatial pointer reference frame of a three-dimensional
(3D) pointing device utilizing a six-axis motion sensor module therein and subject to movements and rotations in dynamic
environments in said spatial pointer reference frame, comprising the steps of:




                                                                              six-axis motion sensor module




                     Source: http://consumer.huawei.com/us/mobile-phones/tech-specs/nexus-6p-us.htm


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Claim 14
obtaining a previous state of the six-axis motion sensor module; wherein the previous state includes an initial-value set associated
with previous angular velocities gained from the motion sensor signals of the six-axis motion sensor module at a previous time T−1;

The previous state is obtained through an update program that includes a predict() function and an update() function. Those
functions that are used to update the global variable x0 based on x0 (the previous state) associated with previous angular velocities
w gained at a previous time T-1 to obtain an updated state x0. The updated state x0 becomes the previous state x0 at time T (the next
iteration) of the update program to obtain the updated state x0 at time T.



                                                                                                previous state




                                                                                                            next iteration




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

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Claim 14
obtaining a current state of the six-axis motion sensor module by obtaining measured angular velocities ωx, ωy, ωz gained from the
motion sensor signals of the six-axis motion sensor module at a current time T;




                                                                                                  measured angular velocities




                      current state




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

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Claim 14
obtaining a measured state of the six-axis motion sensor module by obtaining measured axial accelerations Ax, Ay, Az gained from
the motion sensor signals of the six-axis motion sensor module at the current time T and calculating predicted axial accelerations
Ax′, Ay′, Az′ based on the measured angular velocities ωx, ωy, ωz of the current state of the six-axis motion sensor module without
using any derivatives of the measured angular velocities ωx, ωy, ωz;


                                  measured axial accelerations




            measured state                                                        predicted axial accelerations
                                     measured axial accelerations

As shown in the code above, the predicted measurement is obtained based on the first signal set without using any derivatives of the
measured angular velocities.


Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

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Claim 14
said current state of the six-axis motion sensor module is a second quaternion with respect to said current time T;


As shown in the examples provided, the current state is represented by the global state variable x0, which is a quaternion with
respect to the current time T.




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp




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Claim 14
comparing the second quaternion in relation to the measured angular velocities ωx, ωy, ωz of the current state at current time T with the
measured axial accelerations Ax, Ay, Az and the predicted axial accelerations Ax′, Ay′, Az′ also at current time T; obtaining an updated state
of the six-axis motion sensor module by comparing the current state with the measured state of the six-axis motion sensor module; and
For example, as previously shown, the measured state, e, is obtained using the update() function, which combines the measured
axial accelerations, z, and the predicted axial accelerations, Bb. Moreover, the predicted axial accelerations are determined
based on the measured angular velocities of the current state at the current time T. The update() function further compares the
measured state, e, and the current state to obtain the updated state, x0.
                                                                                      measured angular velocities



                                                                                                   previous state

                                                                          current state




                               measured state
                                                                                                    measured axial accelerations




                                                                                                     predicted axial accelerations



    updated state

Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

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                                                                        Nexus 6P
Claim 14
calculating and converting the updated state of the six axis motion sensor module to said resulting deviation comprising said
resultant angles in said spatial pointer reference frame of the 3D pointing device.

The updated state x0 is in quaternion form, and can easily be converted to resultant angles.
According to Android’s developer library, the getOrientation() function “computes the device’s orientation based on the rotation
matrix,” and returns resultant angles including the Azimuth, Pitch, and Roll angles.




The getRotationMatrixFromVector() function “convert[s] a rotation vector to a rotation matrix,” and the
getQuaternionFromVector() function “convert[s] a rotation vector to a normalized quaternion.” Therefore, the quaternion, x0, can
be easily converted to its mathematically equivalent form, rotation matrix, and used by getOrientation() function to compute the
orientation in its angular form.
Source: https://android.googlesource.com/platform/frameworks/base/+/b267554/core/java/android/hardware/SensorManager.java

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